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                                                           10

                                                           11                               UNITED STATES DISTRICT COURT
KRIEGER LAW GROUP, LLC
                   2850 W. Horizon Ridge Pkwy, Suite 200




                                                           12
                                                                                                    DISTRICT OF NEVADA
                         Henderson, Nevada 89052




                                                           13

                                                           14
                                                                                                                      Case No.: 2:21-cv-01407-JCM-BNW
                                                                 LETICIA RODRIGUEZ,
                                                           15

                                                           16                           Plaintiff(s),                 JOINT MOTION AND
                                                                                                                      STIPULATION FOR EXTENSION
                                                           17
                                                                    vs.                                               OF TIME FOR PLAINTIFF TO
                                                           18                                                         FILE RESPONSE TO COX
                                                                 NATIONAL CONSUMER TELECOM &                          COMMUNICATION’S MOTION
                                                           19
                                                                 UTILITIES EXCHANGE; COX                              TO DISMISS AND COMPEL
                                                           20    COMMUNICATIONS,                                      ARBITRATION (ECF #21)
                                                           21
                                                                                         Defendant(s).                              (First Request)
                                                           22

                                                           23

                                                           24             Leticia Rodriguez (“Plaintiff”), by and through her counsel, together with Defendant Cox
                                                           25
                                                                Communication (“Cox”), by and through its counsel, collectively the “Parties”, and hereby jointly move,
                                                           26
                                                                stipulate and agree to extend the time for Plaintiff to respond to Defendant Cox’s Motion to Dismiss and
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                                                           1    Compel Arbitration (“Motion to Dismiss”), filed on November 8, 2021 as ECF #21, for 3-weeks until
                                                           2
                                                                December 13, 2021 and show the Court as follows:
                                                           3
                                                                       Plaintiff’s current deadline to respond to the Motion to Dismiss is November 22, 2021. The
                                                           4
                                                                reason for the extension is because Plaintiff needs additional time to examine and evaluate the arguments,
                                                           5

                                                           6    evidence and legal analysis set forth in the Motion to Dismiss and respond to the arguments asserted

                                                           7    therein. Additionally, Plaintiff and Cox have engaged in settlement discussions and possible resolution
                                                           8
                                                                of the Motion to Dismiss and believes there is a fair opportunity that the Parties can resolve this matter
                                                           9
                                                                without incurring additional judicial resources and expenses of the Parties.
                                                           10
                                                                       This is Plaintiff’s first request for an extension and Defendant Cox has agreed to the extension of
                                                           11

                                                                time and will not be prejudiced by the extension. Likewise, the extension of time does not affect nor will
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                                                           12
                         Henderson, Nevada 89052




                                                           13   it prejudice Defendant National Consumer Telecom & Utilities Exchange (“NCTUE”).
                                                           14
                                                                       Stipulated and Agreed: November 19, 2021.
                                                           15

                                                           16
                                                                        /s/ Shawn W. Miller             .                  /s/ Michael N. Feder                .
                                                           17           David H. Krieger, Esq.                             Michael N. Feder, Esq.
                                                                        Shawn W. Miller, Esq.                              DICKINSON WRIGHT PLLC
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                                                           20           Attorneys for Plaintiff                            Attorneys for Defendant COX
                                                           21

                                                           22
                                                                                            ORDER GRANTING EXTENSION OF TIME
                                                           23

                                                           24
                                                                       IT IS SO ORDERED.
                                                           25
                                                                                                                  ________________________________________
                                                           26                                                     UNITED STATES DISTRICT JUDGE

                                                           27                                                             November 22, 2021
                                                                                                                  Dated: __________________________________
                                                           28




                                                                                                                 -2-
